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IN THE UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA, "‘
v. * Criminal No.: CCB~]4~0269

Thomas Liuwood Iones

Defendant. "*

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MOTION TO SUPPRESS TANGIBLE EVIDENCE.
DERIVATIVE EVIDENCE AND STATEMENTS

NOW COMES Defendant, Thon'ias Linwood Jones, by and through counsel, Ivan
J. Bates, Esquire, and hereby respectfully moves this Honorable Court pursuant to
Federal Rule of Criininai Procedure lZ(b)(B) to suppress any and all tangible and
derivative evidence, including any statements of the defendant, seized prior to, during,
and following his arrest, and in support thereof states as follows:

l. The Det`endant is charged by Way of ludictnient to Conspiracy to
Distribute and Possess With lntent to Distribute One Kilograin or more of Heroin and
Five Kilogranis or more of Cocaine (2l U.S.C. § 846).

2. The e\jidence in this case Was seized Witbout reasonable suspicion or
probable cause that a crime had occurred

3. Any Warrantless arrest in this case was conducted without probable cause.
Because the arrest Was conducted Without probable cause, any items seized as a result of
the arrest must be suppressed

4. Any statenients, adinissions, or confessions Were involuntary and obtained
in violation of the Defendant’s privilege against seif~incriminat_ion_, his right to counsel as

guaranteed by the Fifth Antendnient and Sixth Aniendlnents to the United States

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Constitution, and the Suprenie Court’s holding in Mi"raiida v. Ai-‘izoi'icz, 384 U.S. 436
(1966).

5. The Defendant is entitled to a hearing regarding the voluntariness of any
statements, adinissioiis, or confessions attributed to him in accordance With the
provisions of 'i`itle 18 U.S.C. § 3501 and the principles set forth in the case of Uiii`fed
Si‘cifes v. Iiiiiiaii, 352 F.Zd 954 (4"1 Cii‘. i965).

6. Tlie affidavit underlying the Warrant(s) did not establish probable cause to
believe that any evidence of crime Would be found on the person of the Defendant or iii
his residence

7. Tlie affidavit vvas so deficient that no objectively reasonable officer would
have relied in good faith on the legality of the search wairants.

8. That any statements of a confidential informant introduced into evidence
vvould violate the Coiifroiitatioii Clause of the Sixth Aniendrnent as provided in Craii_»ford
v. PT/'czshingtoii, 541 U.S. 36 (2004).

9. Tliat any vviretaps applied for or executed in this case violated the federal,
state, and Constitutioiial requirements under statute, case iaw, rules and orders of both
l\/Iaryland and the Uiiited States and any information gained a resuit is inadmissible

WHEREFORE, the Defendant moves that

(a) any and ali evidence seized from Defendants’ pei'son, vehicle(s),
residence(s) be suppressed;

(b) any and all statements of Defendant be suppressed;

(c) all evidence gathered as a direct or indirect result of any vviretaps

be suppressed;

i\.)

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(d) the trial be severed from the Co-Defendauts;

(e) f)efendant be permitted to supplement this l\/lotion and
Meniorandum as needed; and

(f) this Honorabie Coui't grant any fuither relief as appropriate

Respecti"uliy 5u_-_....ii ' l ,,

  
   

 

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Bates & G ' `a, LLC

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Counsel for Defendant

Authority:

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Fouith, Fifth, and Sixth Aineiidments to the United States Constitution.
Craiiyfo)‘d v. Wcishiiigtoi-i, 54i U.S. 36 (2004).

Doe v. Broderl'ck, 225 F.3d 440 (4th Cir. 2000).

Flo)'i`da v. Royer, 460 U.S. 491 (1983).
Mi'raiicia v. Ari`zoiia, 384 U.S. 436 (19662.
Um'red Stafes v. Iiiiiiaii, 352 F.Zd 954 (4“ Cir. 1965).
Uriz'ted Srcii‘es v. Leoi-i, 468 U.S. 897 (1984).

Wong Sim v. Uiii'fed Sf'af'es, 371 U.S. 471 (1963).

CERTIFlCATE OF SERVICE

,=.;
I HEREBY CERTIFY that on this .,:-)~:g) iday of .t,¢ , 20]4, a copy of
f

the foregoing Motion to Suppress Tangible Evidence, Derivative Evidence and

Statenients vvere mailed tirst~class, postage pre-paid, United States Mail to Seema Mittal,

36 South Charles Street, Fourtli Floor, Baltiinore, Maryland 21201.

 

 

